                 Case 1:21-cr-00117-RCL Document 150-1 Filed 08/30/22 Page 1 of 1


                                                                            Jonathan Gross <jonathansgross@gmail.com>



Re: Emergency Request to Secure Hard Drive and Investigate Incident at DC Jail's
CTF regarding Ryan Taylor Nichols
1 message

Joseph McBride <jmcbride@mcbridelawnyc.com>                                              Mon, Aug 29, 2022 at 1:26 PM
To: "Glover, Eric (DOC)" <eric.glover@dc.gov>, Jonathan Gross <jonathansgross@gmail.com>

 Good Afternoon Mr. Glover.

 I was just informed by Ryan Nichols that a non-uniformed DC Jail Staff Member named Ms. Washington (presumably
 Ingrid Washington) and an ERT team led by Corporal Feliciano, forcibly confiscated Ryan Nichols's discovery today,
 August 29, 2022, at approximately 12:45 PM.

 Ryan Nichols requested that Corporal Feliciano turn his body camera on so that Mr. Nichols' could have a record of the
 incident. The other members of the ERT team covered their badges. One of the other officers is called the name "Stretch"
 by the J6 detainees because of his height.

 Importantly, J6 detainees being housed at CTF have been in possession of their hard drives for the past 6 months. This
 makes it easier for them to simply plug their discovery into the laptops when they arrive and create files for trial
 preparation.

 Mr. Nichols has hundreds of hours of attorney-client privileged work product on his hard drive that is now in the hands of
 the United States government. The idea that federal agents and/or federal prosecutors have copied this information
 sickens me in the deepest part of my soul. It is also plainly illegal and violative of Mr. Nichols's Fourth, Sixth, and First
 Amendment rights.

 We will be filing an emergency motion asking for Mr. Nichols' release due to the litany of allegations laid out in his habeas
 petition, and of course, this new and very unfortunate development.

 I am asking (1) that Mr. Nichols' hard drive be secured, (2) Corporal Feliciano's body cam footage and any other CCTV
 footage and/or body cam footage be preserved and immediately turned over, and (3) that this incident be fully
 investigated and the findings/corresponding report be made available for our review at the earliest possible time.

 Sincerely,
 --
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